Case 5:08-cV-00615-NA|\/|-TWD Document 44

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(`)l"l"l(,`E ()l" ’I`lil.", CORPORATION COUNSEL
Stc})hanie A. Miucr, Ma_yor
June4,2010
Hon. Georgc H. Lowe

Magistrate Judge
Noithcrn District of New York

Uniled States Courthouse
P.O. Box 7336 ¥-¢/ M

 

 

100 South_ Clinton Strect
Syracuse, New York 13261 ;J:;rlg\;l:al;islt;_;:ve~[lu ge
Re: Mothersell v. City ofSyraeuse, et al. Dat~ed° (O jj T ?©\O
Civil Action No.: 9:08-cv- 615 Syracuse, NCW YOrk

Dear Judge Lowe:

'l`he parties have conferred regarding Defendants’ request to substitute Mayor Miner and
Police Chiet` Fowler in place o£ fenner Mayor Driscoll and former Police Chief Miguel as
Det`endants in this action The parties have agreed that because Mayor Driscoll and Chief
Miguel have been sued in their personal capacity they must lemain parties to this lawsuit.
Further, counsel has agreed that it is duplicative to substitute Mayor Miner and Chief`Fowlcr into
this action pursuant to FRCP 25(d) as any claim against them 111 their official capacity is included
within the claims against the City of Syracuse. Therefore, we have agreed that former Mayor
Driscoll and former Police Chief` Migucl remain Def`endants in this action sued in their personal
capacity only.

Also, in Civil Rights actions against police officers, it has been my experience and past
practice with Your Honor that you review the named Dc[`endant police ofticers’ personnel and
discipline files in camera and then advise Def’endants’ counsel of the documents you deem
discoverable I have spoken with Plaintiff’s eounsel, Mr. Benno, regarding this practice and he
is agreeable that, in order to move discovciy forward, Your Honor be provided with the tiles for
your review. Mr. Benno has also agreed to sign a confidentiality stipulation should thc Court
order disclosure of any documents

l<indly advise counsel if` this proposal is agreeable to you, and l will have the files
delivered to your chambers

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SYRACUSE, N.Y. 13202 ¢ (3 l5) 448-8400 ' l"`AX: (31§) 448~'8381 - \VE.B PAGE! \¢VWW.SYRACUSI£.NY.US

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Respectful]y submitted,

 

Senior A istant Corporation Counsel

